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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


 910 E MAIN L L C ET AL                              CASE NO. 6:20-CV-00965

 VERSUS                                              JUDGE SUMMERHAYS

 JOHN BEL EDWARDS ET AL                              MAGISTRATE JUDGE HANNA


                                            ORDER

        The Court has scheduled a hearing on the Plaintiff’s Motion for Preliminary Injunction for

 August 17, 2020. The following deadlines will apply to that hearing:

        IT IS ORDERED THAT Defendants’ opposition to Plaintiffs’ Motion for a Preliminary

 Injunction is due on August 10, 2020;

        IT IS FURTHER ORDERED THAT Plaintiffs’ reply is due on August 13, 2020;

        IT IS FURTHER ORDERED THAT bench books and exhibit lists are due on August 13,

 2020; and

        IT IS FURTHER ORDERED THAT findings of fact and conclusions of law are due on

 August 14, 2020.

        THUS DONE in Chambers on this 4th day of August, 2020.




                                                            Robert R. Summerhays
                                                           United States District Judge
